EXHIBIT K
     State 'blazing new trails' in health costs ; Program helps hospitals plug
                                        losses
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Body


On average, East Jefferson General Hospital loses $3.2 million, or about 4 percent of its revenue a month, because
of unpaid medical bills.

To stave that loss, the Metairie hospital, along with West Jefferson Medical Center in Marrero and dozens of other
public hospitals throughout the state, are taking advantage of new ways Louisiana plans to pay to care for low-
income families left uncovered by government programs.

"We're actually blazing new trails," said Bruce Greenstein, secretary of the state Department of Health and
Hospitals. "This is the commitment to keep those hospitals open."

An advocate of the programs, Sen. David Heitmeier, D-Algiers, said Tuesday that more than $100 million has been
distributed to hospitals so far. He estimated the programs could capture more than $300 million in federal financing
in the next fiscal year.

The first of these programs, called the Low-Income and Needy Care Collaborative, asks private companies to pay
the costs of services for low-income patients that public hospitals or the state once covered. The money saved by
public hospitals can then be used by the state to leverage more financing from the federal government, which is
funneled back to the private and public hospitals.

Ultimately, it allows health care providers to receive larger payments that more accurately reflect the true cost to
provide care, Heitmeier said.

The Physicians Upper Payment Limit program operates differently, letting public hospitals, such as East Jefferson,
bridge the gap between the higher payments made by private insurance plans and the lower ones from Medicaid,
the state-managed program for low-income families.

Under this program, public hospitals certify the amount their physicians have not been compensated by Medicaid.
The state can then use that money to leverage more financing from the federal government, East Jefferson Chief
Executive Dr. Mark Peters said.

East Jefferson began the Upper Payment Limit program in January, he said. So far, the hospital has certified $1.3
million this year, he said.

Peters said the hospital is also exploring ways to partner with private entities through another version of the Upper
Payment Limit program.

"It is very new, that is entirely true," he said. "It's such a work in progress."
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Such a partnership would result in a private agency paying for certain uncompensated costs at East Jefferson
which, in turn, could free up more money in its budget to report to the state. The state could then use payments to
pry a greater match in health care payments from federal programs.

Gov. Bobby Jindal announced March 29 that the state sent $83 million to 27 private hospitals for engaging in similar
programs.

The Parish Council has hired United Professionals Company, an affiliate of the Sisung Group, to create and
manage the private Upper Payment Limit program at both Jefferson public hospitals.

Basing their work on similar programs in Texas, United Professionals and the parish have partnered with the Texas
law firm Gjerset & Lorenz.

Initially, the parish contract stated that United Professionals would be paid a percentage of the revenues collected
for the hospitals by the program. But without a program in place yet, the council decided on April 6 to switch that
payment schedule to a flat fee. West Jefferson will pay United Professionals $16,000 a month from January through
June 2012 and East Jefferson will pay the company $8,000 a month from April 1 through next April. After that the
price drops, but stays in place for the length of the program.

United Professionals has until Dec. 31, 2012, to implement the program, according to the contract. Manager Lane
Sisung couldn't be reached this week.


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